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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.

  MAURICE CLINE,

         Plaintiff,

         v.

  SERVICESOURCE INTERNATIONAL,
  INC., ANDREW M. BAKER,
  JANE OKUN BOMBA,
  JOHN FERRON, JOHN HARRIS,
  JOHN A. MEYER, GARY B. MOORE,
  and RICHARD WALKER,

        Defendants.
  ______________________________________________________________________________

     COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS AND
                                  JURY DEMAND
  ______________________________________________________________________________

         Plaintiff Maurice Cline (“Plaintiff”), by Plaintiff’s undersigned attorneys, for Plaintiff’s

  complaint against Defendants (defined below), alleges the following based upon personal

  knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

  matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys.

                                   NATURE OF THE ACTION

         1.      This is an action against ServiceSource International, Inc. (“ServiceSource” or the

  “Company”) and its Board of Directors (the “Board” or the “Individual Defendants”) for their

  violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

  Act”), 15 U.S.C. §§ 78n(a) and 78t(a), and Rule 14a-9 promulgated thereunder by the SEC, 17

  C.F.R. § 240.14a-9, in connection with the proposed acquisition (the “Proposed Transaction”) of

  ServiceSource by Concentrix Corporation (“Concentrix”).


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                                   JURISDICTION AND VENUE

         2.      The claims asserted herein arise under and pursuant to Sections 14(a) and 20(a) of

  the Exchange Act (15 U.S.C. §§ 78n(a) and 78t(a)) and Rule 14a-9 promulgated thereunder by the

  SEC (17 C.F.R. § 240.14a-9).

         3.      This Court has jurisdiction over the subject matter of this action pursuant to 28

  U.S.C. § 1331, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

         4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

  the Exchange Act (15 U.S.C. § 78aa(c)) as the Company is headquartered in this District.

         5.      In connection with the acts, conduct and other wrongs alleged in this complaint,

  Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

  including but not limited to, the United States mails, interstate telephone communications and the

  facilities of the national securities exchange.

                                               PARTIES

         6.      Plaintiff is, and has been at all relevant times hereto, an owner of ServiceSource

  common stock.

         7.      Defendant ServiceSource provides business process-as-a-service solutions

  worldwide. The Company is incorporated in Delaware. The Company’s common stock trades on

  the NASDAQ under the ticker symbol, “SREV.”

         8.      Defendant Andrew M. Baker (“Baker”) is a director of the Company.

         9.      Defendant Jane Okun Bomba (“Bomba”) is a director of the Company.

         10.     Defendant John Ferron (“Ferron”) is a director of the Company.

         11.     Defendant John Harris (“Harris”) is a director of the Company.

         12.     Defendant John A. Meyer (“Meyer”) is a director of the Company.



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         13.      Defendant Gary B. Moore (“Moore”) is Chief Executive Officer and Chairman of

  the Board of the Company.

         14.      Defendant Richard Walker (“Walker”) is a director of the Company.

         15.      Defendants Baker, Bomba, Ferron, Harris, Meyer, Moore, and Walker are

  collectively referred to herein as the “Individual Defendants.”

         16.      Defendants ServiceSource and the Individual Defendants are collectively referred

  to herein as the “Defendants.”

                                   SUBSTANTIVE ALLEGATIONS

     A. The Proposed Transaction

         17.      On May 9, 2022, ServiceSource announced that it had entered into a definitive

  merger agreement pursuant to which Concentrix would acquire ServiceSource for $1.50 per share

  in cash. The press release announcing the Proposed Transaction states, in pertinent part:

          ServiceSource International, Inc. to be Acquired by Concentrix Corporation
                                   in All-Cash Transaction

               Transaction Combines Highly Complementary Customer Experience (CX)
                                       Solutions Businesses

               Unifies Best-in-Class Digitally-Enabled Capabilities to Support the Entire
                              Customer Journey for B2B and B2C Clients

                            47% Premium for ServiceSource Stockholders

          Transaction was Unanimously Approved by ServiceSource’s Board of Directors
            Stockholders Representing Approximately 33.5% of the Outstanding Voting
            Power Have Entered Into Voting Agreements in Support of the Transaction

         May 09, 2022 08:00 AM Eastern Daylight Time

         DENVER--(BUSINESS WIRE)--ServiceSource International, Inc. (NASDAQ:
         SREV), the customer journey experience company, today announced it has entered
         into a definitive merger agreement pursuant to which Concentrix Corporation
         (NASDAQ: CNXC), a leading global provider of customer experience (CX)
         services and technologies, will acquire ServiceSource in an all-cash transaction.


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       ServiceSource stockholders will receive $1.50 per share in cash for each issued and
       outstanding share of common stock they own. The purchase price represents a 47%
       premium to ServiceSource’s unaffected closing stock price on May 6, 2022.

                                        *       *      *

       Transaction Timing and Approvals

       Completion of the Merger is not subject to a financing condition and the transaction
       is expected to close in the second half of fiscal year 2022, subject to the approval
       of ServiceSource’s stockholders and customary closing conditions, including
       expiration or termination of the applicable waiting periods under the Hart-Scott-
       Rodino Antitrust Improvements Act of 1976.

       Advisors

       Centerview Partners LLC is acting as financial advisor to ServiceSource and Davis
       Graham & Stubbs LLP is serving as ServiceSource’s legal advisor.

       About ServiceSource

       ServiceSource International, Inc. (NASDAQ: SREV) is a global outsourced go-to-
       market services provider that accelerates B2B digital sales and customer success
       transformation. Our expert sales professionals, data-powered insights and proven
       methodologies scale and reimagine customer journey experiences (CJX®) into
       profitable business outcomes. Backed by more than 20 years of experience,
       ServiceSource drives billions of dollars in client value annually, conducting
       commerce in 45 languages and 175 countries. To learn more about how we design,
       develop and manage CJX solutions that transform the agility, speed, efficiency and
       value of our clients’ growth initiatives, visit www.servicesource.com.

       About Concentrix

       Concentrix Corporation (Nasdaq: CNXC), is a leading global provider of customer
       experience (CX) solutions and technology, improving business performance for
       some of the world’s best brands including over 100 Fortune Global 500 clients and
       over 125 new economy clients. Every day, from more than 40 countries and across
       6 continents, our staff delivers next generation customer experience and helps
       companies better connect with their customers. We create better business outcomes
       and help differentiate our clients by reimagining everything CX through Strategy +
       Talent + Technology. Concentrix provides services to clients in our key industry
       verticals: technology & consumer electronics; retail, travel & ecommerce; banking,
       financial services & insurance; healthcare; communications & media; automotive;
       and energy & public sector. Visit www.concentrix.com to learn more.

       18.    On June 2, 2022, Defendants caused to be filed with the SEC a Schedule 14A


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  Preliminary Proxy Statement (the “Proxy Statement”) pursuant to Section 14(a) of the Exchange

  Act in connection with the Proposed Transaction.

     B. The Proxy Statement Contains Materially False and Misleading Statements and
        Omissions

         19.      The Proxy Statement, which recommends that ServiceSource shareholders vote in

  favor of the Proposed Transaction, omits and/or misrepresents material information concerning:

  (i) ServiceSource’ financial projections; (ii) the financial analyses performed by the Company’s

  financial advisor, Centerview Partners LLC (“Centerview”), in connection with its fairness

  opinion; (iii) the sales process leading up to the Proposed Transaction; and (iv) potential conflicts

  of interest involving Company insiders.

         20.      The omission of the material information (referenced below) renders the following

  sections of the Proxy Statement false and misleading, among others: (i) Background of the Merger;

  (ii) Recommendation of the Board and Reasons for the Merger; (iii) Opinion of ServiceSource’s

  Financial Advisor; and (iv) Projections Prepared by ServiceSource’s Management.

         21.      Unless and until the material misstatements and omissions (referenced below) are

  remedied before the anticipated shareholder vote on the Proposed Transaction, ServiceSource

  shareholders will be forced to make a voting decision on the Proposed Transaction without full

  disclosure of all material information. In the event the Proposed Transaction is consummated,

  Plaintiff may seek to recover damages resulting from Defendants’ misconduct.

               1. Material Omissions Concerning ServiceSource’s Financial Projections

         22.      The Proxy Statement omits material information concerning ServiceSource’s

  financial projections.

         23.      With respect to ServiceSource’s financial projections, the Proxy Statement fails to

  disclose: (1) all line items underlying the projections; (2) the Company’s net income projections;


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  and (3) a reconciliation of all non-GAAP to GAAP metrics.

         24.     The disclosure of this information is material because it would provide the

  Company’s shareholders with a basis to project the future financial performance of ServiceSource

  and would allow shareholders to better understand the financial analyses performed by the

  Company’s financial advisor in support of its fairness opinion. Shareholders cannot hope to

  replicate management’s inside view of the future prospects of the Company. Without such

  information, which is uniquely possessed by Defendant(s) and the Company’s financial advisor,

  the Company’s shareholders are unable to determine how much weight, if any, to place on the

  Company’s financial advisor’s fairness opinion in determining whether to vote for or against the

  Proposed Transaction.

         25.     When a company discloses non-GAAP financial metrics in a Proxy Statement that

  were relied upon by its board of directors in recommending that shareholders exercise their

  corporate suffrage rights in a particular manner, the company must also disclose, pursuant to SEC

  Regulation G, all projections and information necessary to make the non-GAAP metrics not

  misleading, and must provide a reconciliation (by schedule or other clearly understandable

  method) of the differences between the non-GAAP financial metrics disclosed or released with the

  most comparable financial metrics calculated and presented in accordance with GAAP. 17 C.F.R.

  § 244.100. 1



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    Mary Jo White, Keynote Address, International Corporate Governance Network Annual
  Conference: Focusing the Lens of Disclosure to Set the Path Forward on Board Diversity, Non-
  GAAP, and Sustainability (June 27, 2016), https://www.sec.gov/news/speech/chair-white-icgn-
  speech.html (footnotes omitted) (last visited June 10, 2022) (“And last month, the staff issued
  guidance addressing a number of troublesome practices which can make non-GAAP disclosures
  misleading: the lack of equal or greater prominence for GAAP measures; exclusion of normal,
  recurring cash operating expenses; individually tailored non-GAAP revenues; lack of
  consistency; cherry-picking; and the use of cash per share data. I strongly urge companies to
  carefully consider this guidance and revisit their approach to non-GAAP disclosures.”).

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          26.        The above-referenced omitted information, if disclosed, would significantly alter

  the total mix of information available to the Company’s shareholders.

                2. Material Omissions Concerning Centerview’s Analyses

          27.        In connection with the Proposed Transaction, the Proxy Statement omits material

  information concerning analyses performed by Centerview.

          28.        With respect to Centerview’s “Selected Public Company Analysis,” the Proxy

  Statement fails to disclose the individual financial metrics of each company Centerview observed

  in its analysis.

          29.        The Proxy Statement fails to disclose the following concerning Centerview’s

  “Selected Transaction Analysis”: (1) the individual financial metrics of each transaction

  Centerview observed in its analysis; (2) the closing date of each transaction; and (3) the value of

  each transaction.

          30.        The Proxy Statement fails to disclose the following concerning Centerview’s

  “Discounted Cash Flow Analysis”: (1) the individual inputs and assumptions underlying the

  discount rates and perpetuity growth rates used in the analysis; (2) the forecasted unlevered free

  cash flows of ServiceSource beginning the first quarter of 2026 and ending in December 2031,

  and all underlying line items; (3) the forecasted federal net operating loss carryforwards through

  2034; (4) the terminal value of ServiceSource; and (5) the number of fully-diluted outstanding

  shares of ServiceSource common stock.

          31.        With respect to Centerview’s “Premiums Paid Analysis,” the Proxy Statement fails

  to disclose each transaction observed and the premiums paid therein.

          32.        The valuation methods, underlying assumptions, and key inputs used by

  Centerview in rendering its purported fairness opinion must be fairly disclosed to the Company’s

  shareholders. The description of Centerview’s fairness opinion and analyses, however, fails to

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  include key inputs and assumptions underlying those analyses.

         33.      Without the information described above, the Company’s shareholders are unable

  to fully understand Centerview’s fairness opinion and analyses, and are thus unable to determine

  how much weight, if any, to place on them in determining whether to vote for or against the

  Proposed Transaction. This omitted information, if disclosed, would significantly alter the total

  mix of information available to the Company’s shareholders.

               3. Material Omissions Concerning the Sales Process Leading up to the Proposed
                  Transaction

         34.      The Proxy Statement omits material information concerning the sales process

  leading up to the Proposed Transaction.

         35.      The Proxy Statement provides that the Company entered into non-disclosure

  agreements with several potential buyers.

         36.      The Proxy Statement, however, fails to disclose all the terms of the Company’s

  non-disclosure agreements, including whether such agreements contained standstill provisions and

  “don’t ask, don’t waive” (DADW) provisions (including their time of enforcement) that would

  preclude potentially interested parties from making superior offers for the Company.

         37.      Without this information, the Company’s shareholders may have the mistaken

  belief that potential buyers are or were permitted to submit superior proposals for the Company,

  when in fact, they may be contractually prohibited from doing so. This information is material

  because a reasonable ServiceSource shareholder would want to know, prior to voting for or against

  the Proposed Transaction, whether other potentially interested parties are or were foreclosed from

  submitting a superior proposal.

         38.      The above-referenced omitted information, if disclosed, would significantly alter

  the total mix of information available to the Company’s shareholders.


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                4. Material Omissions Concerning Company Insiders’ Potential Conflicts of
                   Interest

          39.      The Proxy Statement omits material information concerning potential conflicts of

  interest involving Company insiders.

          40.      The Proxy Statement fails to disclose the details of all employment-related and

  compensation-related discussions and negotiations concerning the Company’s officers and

  directors, including the parties to such communications, when they occurred, and the specific

  content discussed/communicated.

          41.      Any communications regarding post-transaction employment during the

  negotiation of the underlying transaction must be disclosed to shareholders. This information is

  necessary for shareholders to understand potential conflicts of interest of management and the

  Board. Such information may illuminate the motivations that would prevent fiduciaries from acting

  solely in the best interests of the Company’s shareholders.

          42.      The above-referenced omitted information, if disclosed, would significantly alter

  the total mix of information available to the Company’s shareholders.

                                            COUNT I
            For Violations of Section 14(a) and Rule 14a-9 Promulgated Thereunder
                                     Against All Defendants
          43.      Plaintiff repeats and realleges each and every allegation contained above as if fully

  set forth herein.

          44.      During the relevant period, Defendants, individually and in concert, directly or

  indirectly, disseminated or approved the false and misleading Proxy Statement specified above,

  which failed to disclose material facts necessary in order to make the statements made, in light of

  the circumstances under which they were made, not misleading, in violation of Section 14(a) of

  the Exchange Act and Rule 14a-9 promulgated thereunder by the SEC.


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         45.     Each of the Individual Defendants, by virtue of his/her positions within the

  Company as officers and/or directors, were aware of the omitted information but failed to disclose

  such information, in violation of Section 14(a) of the Exchange Act. Defendants, by use of the

  mails and means and instrumentalities of interstate commerce, solicited and/or permitted the use

  of their names to file and disseminate the Proxy Statement with respect to the Proposed

  Transaction. The Defendants were, at minimum, negligent in filing the materially false and

  misleading Proxy Statement.

         46.     The false and misleading statements and omissions in the Proxy Statement are

  material in that a reasonable shareholder would consider them important in deciding how to vote

  on the Proposed Transaction.

         47.     By reason of the foregoing, Defendants have violated Section 14(a) of the Exchange

  Act and Rule 14a-9 promulgated thereunder.

         48.     Because of the false and misleading statements and omissions in the Proxy

  Statement, Plaintiff is threatened with irreparable harm.

                                              COUNT II
                           Violations of Section 20(a) of the Exchange Act
                                 Against the Individual Defendants

         49.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

  paragraphs as if fully set forth herein.

         50.     The Individual Defendants acted as control persons of the Company within the

  meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their senior positions

  as officers and/or directors of the Company and participation in and/or awareness of the

  Company’s operations and/or intimate knowledge of the false statements contained in the Proxy

  Statement filed with the SEC, they had the power to and did influence and control, directly or



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  indirectly, the decision-making of the Company, including the content and dissemination of the

  false and misleading Proxy Statement.

         51.     Each of the Individual Defendants was provided with or had unlimited access to

  copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

  and/or shortly after these statements were issued and had the ability to prevent the issuance of the

  statements or cause the statements to be corrected. As officers and/or directors of a publicly owned

  company, the Individual Defendants had a duty to disseminate accurate and truthful information

  with respect to the Proxy Statement, and to correct promptly any public statements issued by the

  Company which were or had become materially false or misleading.

         52.     In particular, each of the Individual Defendants had direct and supervisory

  involvement in the operations of the Company, and, therefore, is presumed to have had the power

  to control or influence the particular transactions giving rise to the securities violations as alleged

  herein, and exercised the same. The Individual Defendants were provided with or had unlimited

  access to copies of the Proxy Statement and had the ability to prevent the issuance of the statements

  or to cause the statements to be corrected. The Proxy Statement at issue contains the

  recommendation of the Individual Defendants to approve the Proposed Transaction. Thus, the

  Individual Defendants were directly involved in the making of the Proxy Statement.

         53.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

  Individual Defendants were involved in negotiating, reviewing, and approving the Proposed

  Transaction. The Proxy Statement purports to describe the various issues and information that they

  reviewed and considered—descriptions which had input from the Individual Defendants.

         54.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

  of the Exchange Act.



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         55.     As set forth above, the Individual Defendants had the ability to exercise control

  over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

  promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions

  as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the

  Exchange Act. As a direct and proximate result of Defendants’ conduct, the Company’s

  shareholders will be irreparably harmed.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for judgment and relief as follows:

         A.      Preliminarily and permanently enjoining Defendants and all persons acting in

  concert with them from proceeding with, consummating, or closing the Proposed Transaction and

  any vote on the Proposed Transaction, unless and until Defendants disclose and disseminate the

  material information identified above to Company shareholders;

         B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

  setting it aside or awarding rescissory damages;

         C.      Declaring that Defendants violated Sections 14(a) and 20(a) of the Exchange Act,

  and Rule 14a-9 promulgated thereunder;

         D.      Awarding Plaintiff reasonable costs and expenses incurred in this action, including

  counsel fees and expert fees; and

         E.      Granting such other and further relief as the Court may deem just and proper.

                                      JURY TRIAL DEMANDED

         Plaintiff hereby demands a trial by jury.




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  Dated: June 10, 2022                     Respectfully submitted,

                                           HALPER SADEH LLP

                                           By: /s/ Daniel Sadeh
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                                           vice)
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                                           Counsel for Plaintiff




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